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Alfred Joshua, MD, MBA, CCHP-P, FAAEM
P.O. Box 5000 PMB 525 Rancho Santa Fe, CA 92067

Forensic Expert Report

I. INTRODUCTION

My name is Alfred Joshua, MD, MBA, CCHP-P, FAAEM. My business address is P.O. Box
5000 PMB 525 Rancho Santa Fe, CA 92067. I was retained by Attorney Kendall Coffey related
to the evaluation of the clinical risks for Mr. Todd Kozel based on an incarcerated institutional
setting and the medical, mental health, and dental infrastructure provided in a federal
correctional facility.

Il. BACKGROUND AND EDUCATION

I received my Doctor of Medicine from the State University of New York, Syracuse (Upstate
University), and completed my post-graduate residency training at UC San Diego Emergency
Medicine Residency program in San Diego. I completed a two-year fellowship in Hospital
Administration at UC San Diego under the mentorship of the CEO, CMO and President of the
Medical Group. I have been a licensed Physician and Surgeon in the State of California and have
maintained my board certification in Emergency Medicine (ABEM) since July 2012. I have
worked in the healthcare industry as an emergency medicine physician, primary care,
detoxification services, and correctional medicine and administration. Additionally, I have a
Master of Business Administration (MBA) degree from the University of California, Irvine. I
received a Certification for Certified Correctional Health Professional (CCHP) from National
Commission of Correctional Healthcare (NCCHC). I have also received the CCHP physician
specialty certification (CCHP-P) upholding the highest standards of correctional healthcare There
are only around 70 correctional physicians across the country who have received the designation
as of November 2017.

A. Professional Experience

I was selected in 2013 to lead the San Diego County Sheriff's Medical Services Division as
Chief Medical Officer to design and manage a medical system that provides comprehensive
medical care for the 91,000+ inmate/patients who are annually booked with a daily census of
5,800+ inmate/patients who are housed at seven detention facilities throughout the San Diego
region covering 4,562 square miles. I have been designing an innovative managed care model for
the county jails in order to meet the medical and financial challenges of AB 109, or Public Safety
Realignment. I led the creation of a Managed Care Department for central utilization review
within the Sheriff's Department and established new value-based hospital contracting in inpatient
and outpatient medical care over past two years. I have revised or created 50+ Departmental
Medical policies to standardize medical care across seven facilities as well as revising Sheriff's
department medical and psychiatric formulary to improve quality of care for patients. I have
redesigned Mental Health care with a new Inmate Safety Program that is designed to reduce
suicide deaths, attempts and safety cell placements. I have led the creation of a Telehealth

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program which provides and expedites timely access to outpatient specialty care for inmates.
Prior to the Sheriff's Department, I served as the Senior Medical Officer in Healthcare Reform at
Tri-City Medical Center and as Medical Director for Volunteers of America, a non-profit
organization that assists the homeless and those rehabilitating from drugs and alcohol. I have
completed a two-year hospital administrative fellowship at UC San Diego after completion of
my emergency medicine residency. I have worked clinically in the Emergency department at UC
San Diego and at Tri-City Medical Center and currently practice clinically at the Veterans
Affairs Emergency Department. I served on the Board of Directors for San Diego Health
Connect a leading national health information exchange platform located in San Diego and the
Council of Mentally Ill Offenders (COMIO) and was appointed by the Speaker of the House of
California in 2015.

In addition to the above, I had regularly met with other jail administrators and medical directors
from several jurisdictions in Southern California to discuss emerging topics and best practices. I
have served as a subject matter expert for the Medical/Mental Health Workgroup for Board of
State and Community Corrections (BSCC) in 2016 to make the most recent revisions to Title 15
regulations, which govern jail correctional entities in the State of California.

From August 2018 through March 2021, I joined Prime Healthcare to serve as the Corporate
Director of Correctional Healthcare Services for their 45 hospitals across the country. During this
time, I built hospital healthcare systems for 19+ federal agencies which included Federal Bureau
of Prisons, FBI, DEA, DOJ, Border Patrol, Borders and Customs, State Prisons, and Country
Jails, to take care of their inmates with various and complex medical and mental health
conditions in the environment of COVID 19. In addition, I served as the Regional Chief Medical
Officer for two hospitals (Alvarado and Paradise Valley Hospital located in San Diego) during
this time.

Since April 2021, I serve as a correctional healthcare consultant to assist organizations and
entities with improving the quality and delivery of care for inmate populations.

Ill. MATERIALS REVIEWED
In preparation for forming the opinions expressed below, in addition to my experience in the
correctional healthcare field, I have reviewed the following materials:

1. National Commission of Correctional Health Standards, Jails, Prisons 2018

2. Northwell Health Records (Oncology Records)

3. Letters from Physicians related to Todd’s Medical Care

4, Interview with Todd Kozel- related to his care and symptoms affecting his daily life

5. Phone Interview with Dr. Angelo Acquista (Board Certified Internal Medicine,
Pulmonary medicine, and Tropical Medicine)- Todd’s Primary Physician

6. Todd Kozel Government Sentencing Memorandum

7. BOP modified operations: https://www.bop.gov/coronavirus/covid19_status.jsp

8. BOP main information and resource page: https://www.bop.gov/coronavirus/index.jsp

9. BOP March 26, 2020 Home Confinement Memorandum

10. BOP April 3, 2020 Home Confinement Memorandum
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IV. SUMMARY OF OPINIONS

Based on my review of the documents provided, and my education and training, as well as
administrative and clinical experience in both the correctional health care and hospital setting, it
is my opinion that Mr. Todd Kozel’s complications related to his oncologic treatment of
squamous cell carcinoma and his unique circumstances related to COVID-19 pose serious risks
of morbidity and mortality if he was to be incarcerated in a correctional facility.

Mr. Todd Kozel is a 55-year-old male with a significant medical history of left tonsillar
squamous cell carcinoma with metastasis which was first diagnosed in October 2020 and
consequently underwent significant amounts of chemotherapy and radiation. The oncologic
treatments to stop the progression of his cancer have caused major side effects that have caused
not only daily residual symptoms but also which require routine, timely, and frequent specialist
care in various specialties. In addition, Mr. Kozel is not vaccinated for COVID due to medical
reasons related to his cancer treatments and thus would be considered higher risk of severe
complications inside any correctional facility during this time. Mr. Kozel faces significant
clinical risks for lapses in his medical care if he is to be incarcerated. He further poses a
substantial burden to medical staff inside a federal correctional facility who would be tasked with
coordinating his various specialists, off site clinic appointments, surgeries, procedures,
medications, imaging, and lab studies. Moreover, with the current COVID variant, Omicron,
which is considered highly transmissible, Mr. Kozel would be inevitably exposed in multiple
settings to COVID (including the facilities listed in the sentencing memorandum) which pose an
increased risk to him based on his co-morbid conditions. I have reviewed the facilities listed in
the Government Sentencing Memorandum, and the below four opinions are serious concerns in
the current environment for all healthcare facilities. (Even those healthcare systems with an
exceptional reputation prior to the Pandemic)

V. OPINIONS

1. Oncologic Risks: Mr. Kozel found a lump in his neck in October 2020 and consequently
was diagnosed with inoperable squamous cell carcinoma of the left tonsil with cervical
lymphadenopathy and underwent 8 weeks of chemotherapy and 42 days of high dose
radiation therapy. The radiation therapy created numerous complications including
destroying his salivary glands where Todd no longer produces saliva. This has created
significant morbidity where he must constantly drink water. The lack of saliva has
created serious dental problems including infection, tooth decay, and gum disease. He is
currently undergoing numerous procedures related to this complication which will need
to be continued in an institutional incarcerated setting. He is also at risk for radiation
osteonecrosis of the jawbone which requires daily hyperbaric treatments. In addition,
Todd has not been found to be in remission from his cancer, and thus his surveillance for
recurrent cancer is of utmost importance and will need to be coordinated for PET scan,
MRI, and oncology clinic visits at specified time intervals. It should be noted the level of
radiation Todd received for radiation therapy, has caused his physicians to advise against
further radiation from certain tests to limit the cumulative exposure of radiation.
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Correctional Healthcare Coordination of Care: Correctional facilities typically follow
state minimum standards and national guidelines from organizations such as the National
Commission on Correctional Healthcare (NCCHC). These facilities have clinical
infrastructure to deal with many complaints that are typically designated for urgent and
primary care. The challenges with these facilities come with inmates who have highly
specialized care and treatment plans which place significant burden onto medical and
correctional staff to coordinate care. With the complexity of Todd’s current medical
history, it places an undue burden onto medical staff at the correctional facility to
coordinate the various aspects of his care in the current environment where access is
severely impacted from staffing shortages at outside healthcare facilities.

COVID 19: Mr. Kozel had COVID for 16 days in March 2020. As a result of this
infection, he suffers from long term complications related to COVID with neurological
complaints such as memory disturbances and confusion. Prior to COVID, Todd had pre-
existing lung disease as he was officially diagnosed with reactive airway disease and
suffered two bouts of respiratory infections when working in Algeria and Brazil. Due to
his oncologic treatments, his physicians advised Todd not to get the COVID vaccine as it
would increase inflammation which could create serious complications that could result
in morbidity and mortality. The current state of the pandemic has a highly infectious
variant in Omicron which while less lethal than the original variant, poses significant risk
to Todd based on his unvaccinated status and other medical conditions. It is nearly
impossible for Todd to not be exposed to Omicron or future variants of COVID in an
institutional setting with other inmates. The medical facilities listed in the Memorandum
would not preclude Todd from contracting COVID and the related complications as this
variant is unlike previous strains for its marked infectiousness. The BOP website for
Coronavirus states “Since the release of the Attorney General's original memo to the
Bureau of Prisons on March 26, 2020 instructing us to prioritize home confinement as an
appropriate response to the COVID-19 pandemic, the BOP has significantly increased its
placement of offenders on home confinement. Currently, the BOP has 5,502 inmates on
home confinement. The total number of inmates placed in home confinement from March
26, 2020 to the present (including inmates who have completed service of their sentence)
is 37,166.” Based on review, Todd meets the clinical criteria for home confinement due
to his unvaccinated COVID status due to medical reasons and his pre-existing co-morbid
conditions which causes him to have an elevated risk of serious morbidity and mortality
should he contract COVID while incarcerated.

Correctional Medical and Correctional Staff Shortages: Correctional Healthcare has
faced significant labor and coordination challenges related to the broader issues regarding
numerous job vacancies and constant staffing shortages. This is not unique to correctional
healthcare and extends to many hospitals which are having a difficult time staffing and
providing timely care to patients. One of the areas that has suffered is patients who
require oncologic care. The constant changing testing and isolation guidelines have
created numerous problems with operations which can significantly pose risks to Todd
getting timely care and treatments from multiple specialists. Various institutions currently

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have varying guidelines on procedures being done if a patient tests positive for COVID
which can be anywhere from 10-60 days. This time delay even when a patient is
asymptomatic can bring devastating results with oncologic care where untimely treatment
can cause cancer to spread to other parts of the body. Thus, it would be significantly safer
for Todd to receive his medical care in a non-correctional setting.

My opinions in this case are given with a reasonable degree of medical probability and is
based on my experience in the correctional health field and clinical arenas, and upon the
documentation provided to me for review. My opinions have never been disqualified in court. I
reserve the right to change this opinion in the event additional documentation is provided in this
matter.

VI. PRESENTATIONS

1. Public Safety Group CAO Quarterly Presentation Panel — Mental Health in Regards to
Public Safety Realignment — February 2014

2. Neighborhood House Association — Mental Health Presentation — March 2014

3. Citizens Law Enforcement Review Board Presentation — Suicide Prevention Strategies
— June 2014

4. Open Minds Presentation — Mental Health in San Diego County Jails — August 2014

5. California State Sheriffs' Association — Affordable Care Act — August 2014

6. National Commission on Correctional Health Association — Viewing Correctional
Healthcare as a Payor — October 2014

7. Honorary Sheriff Deputy Association- Redesigning Medical and Mental Healthcare in
San Diego County Jails: A life and death challenge 2015

8. Police Chief's Presentation: Redesigning Medical and Mental Healthcare: 5 Year Plan

9. San Diego Mental Health Coalition: Mental Health care in San Diego Jails — April 2015

10. Citizens Law Enforcement Review Board Presentation — Suicide Prevention Strategies
— July 2015

11. Behavioral Health Advisory Board- Nov 2015

12. San Diego Law Society- Redesigning Mental Health Care in Jails Nov 2015

13. National Commission on Correctional Health Association — Inmate Safety Program —
April 2016

14. Grand Jury Presentation- Mental Health San Diego Jails July 2016

15. California Coalition for Mental Health - Correctional Mental Health Care September
2016

16. San Diego Organization of Healthcare Leaders (SOHL) Correctional Healthcare and
Information Technology: San Diego County Jails and San Diego Health Connect
October 2016

17. American Correctional Health Services Association - Inmate Safety Program- San
Diego Jails October 2016

18. Mental Health Services OAC: Jail Mental Health Services (Panel Discussion)- March
2017
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Past Grand Jury Association- June 2017: Overview of Jail Medical and Mental Health
Services

California Crisis Intervention Training Association (CCITA): Redesigning Medical
and Mental Health Services in Jails August 2017

Health Trained Deputy Sheriff Training- August 2018

Emergency Medical Response Oversight Committee (EMOC): Jail Medical and
Mental Health Service February 2018

UC San Diego Department of Psychiatry Presentation: Correctional Medicine- March
2018

Citizens Law Enforcement Review Board (CLERB): Future of Jail Medical and Mental
Health Services- February 2018

National Commission on Correctional Health Association — Evolution of a Suicide
Prevention Protocol — April 2018

National Commission on Correctional Health Association — Hepatitis A Outbreak and
a County Jail Response — April 2018

Mental Health Symposium- Jail Mental Health Expert Speaker — April 2018

VII. PUBLICATIONS

1.

Joshua A, Chan T., Castillo E.; A Tool for Emergency Department Throughput: Using
Maximum ED Bed Time to Reduce Wait Times and the Number of Left Without Being
Seen Patients Annals of Emergency Medicine 9/2010 (Abstract)

Nordt SP, Minns A, Carstairs S, Kreshak A, Campbell C, Tomaszewski C, Hayden SH,
Clark RF, Joshua A, Ly BT: Mass sociogenic illness initially reported as carbon
monoxide poisoning. J Emerg Med 2012;42(2):159-161.

Campbell, Joshua, Medak, et al. Is ultrasound-guided subclavian vein cannulation more
successful than traditional methods? Academic Emergency Medicine. 2011; Blackwell
Publishing Ltd. Vol 18(5) S211. (abstract)

Karla DW, Bovet J, Haynes B, Joshua A, et al. Training law enforcement to respond to
opioid overdose with naloxone: Impact on knowledge, attitudes, and interactions with
community members. Drug and Alcohol Dependence 2016

Degner N, Joshua A, et al. Comparison of Digital Chest Radiography to Purified
Protein Derivative for Screening of Tuberculosis in Newly Admitted Inmates. Journal
of Correctional Healthcare 2016 Vol. 22(4) 322-330

Book Chapters:

1. Joshua A: Blunt neck trauma. In: Rosen and Barkin’s 5-Minute Emergency Medicine
Consult (fourth edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Barkin A,
Shayne P, Rosen P (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2010,

2. Joshua A: Subarachnoid hemorrhage. In: Rosen and Barkin’s 5-Minute Emergency
Medicine Consult (fourth edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Barkin
A, Shayne P, Rosen P (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2010

3. Joshua A: Abdominal Imaging, Trauma. In: Rosen and Barkin’s 5-Minute Emergency
Medicine Consult (fourth edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Barkin
A, Shayne P, Rosen P (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2013
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VIII. CASES (Involving Deposition or Trial Testimony in the Past Four Years)

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Villalon v. Cameron County (Deposition)- February 2018 (CASE NO. CA NO 1:15-cv-
00161)

NeSmith v County of San Diego (Deposition) February 2018 (CASE NO.
3:2015cv00629)

Nagy v County of Orange (Deposition) March 2018 (CASE NO. 30-2015-00827446-CU-
PP-CJC)

Scott et al. v Clarke et al. (Deposition) April 2018 (CASE NO. 3:12-cv-36)

Russell v County of Orange (Deposition) May 2018 (CASE NO. 17-cv00125 JLS (DFM)
The People v Avignone et al. (Hearing) May 2018 (Super Ct. SCD250640)

Scott et al. v Clarke et al. (Trial Testimony) June 2018 (CASE NO. 3:12-cv-36)
Nishimoto v County of San Diego (Deposition)- November 2018 (CASE NO. 3:16-cv-
01974-BEN-JMA)

Parker v Christian County (Deposition)- March 2019 (CASE NO. 6:17-cv-03154)

. Gordon v County of Orange (Deposition)- May 2019 (CASE NO. SACV 14-01050 CJC

(DFMx)

Nagy v County of Orange (Deposition)- May 2019 (CASE NO. 30-2015-00827446-CU-
PP-CJC)

Coy v Corizon Inc et al. (Deposition)- December 2019 (CASE NO. 14-CI-02076)

Estate of Ruth Freiwald v Adeyemi Fatoki et al. (Deposition)- February 2020 (CASE
NO. 18-CV-896)

Washington v Kohl’s Department Stores et al. (Deposition)- March 2020 (CASE NO. 5-
19-cv-00397-JGB-SHK) .

Cavanaugh v County of San Diego et al. (Deposition)- May 2020 (CASE NO. 3:2018-cv-
02557)

Lockett v County of Los Angeles et al. (Deposition)- August 2020 (CASE NO: 2:18-cv-
05838-PJW)

Pfaller v Armor Correctional et al. (Deposition)- August 2020 (CASE NO: 3:19-cyv-728)
M.H.C. v County of Los Angeles et al. (Deposition)- September 2020 (CASE NO: 2:18-
cv-08305)

Kangas v County of Orange et al. (Deposition)- January 2021 (CASE NO: 8:18-cv-
02063-JVS-DFM)

Ryan v Wyoming Department of Corrections et al. (Deposition)- February 2021 (Civil
No: 20-CV-98-J)

. Zuniga v County of San Bernardino et al. (Deposition)- May 2021 (CASE NO: CIVDS-

1620852)

Bestafka v Kings County et al. (Deposition)- July 2021 (CASE NO: 18C-0256)

Neal v Wexford Health Services et al. (Deposition)- July 2021 (1:15-cv-03278-ELH)
Greer v County of San Diego et al. (Deposition)-August 2021 (CASE NO 19-cv-0378-
GPC-DEB)

Estate of Ruth Freiwald v Adeyemi Fatoki et al. (Trial Testimony)- August 2021 (CASE
NO. 18-CV-896)

Washington v Armor Correctional Health et al. (Deposition)- September (Vol 1) and
October (Vol 2) 2021 (CASE NO: 3:20-CV-88)

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27. Johnson v CFMG et al. (Deposition)- December 2021 (CASE NO: 2:19-cv-01722-JAM-
DB)

28. Lee v Turn Key Health Clinics et al. (Deposition)- December 2021 (CASE NO: 19-cv-
318-GKF-JFJ)

Executed on January 21, 2022, in San Diego, California

VA

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